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                  Attachment 4
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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA


   PETER POE, et al.,

                       Plaintiffs,
                                                         Case No. 23-cv-00177-JFH-SH
                           v.

   GENTNER DRUMMOND, et al.,

                       Defendants.


                        EXPERT DECLARATION OF JACK TURBAN, M.D.

   I, Jack Turban, M.D., hereby declare and state as follows:

           1.      I have been retained by counsel for Plaintiffs as an expert in connection with the

   above-captioned litigation. I am over 18 years of age, of sound mind, and in all respects competent

   to testify.

           2.      I have actual knowledge of the matters stated herein.

           3.      In preparing this declaration, I reviewed Oklahama Senate Bill 613 (hereafter “the

   medical care ban”). In addition to that legislation and the materials cited herein, I have also relied

   on my years of research and other experience, as set out in my curriculum vitae (Exhibit A) in

   forming my opinions. The materials I have relied upon in preparing this declaration are the same

   types of materials that experts in my field of study regularly rely upon when forming opinions on

   the subject. I may wish to supplement these opinions or the bases for them as a result of new

   scientific research or publications or in response to statements and issues that may arise in my area

   of expertise.




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                             BACKGROUND AND QUALIFICATIONS

          4.      I am currently an Assistant Professor of Child & Adolescent Psychiatry at the

   University of California, San Francisco School (UCSF) of Medicine, where I am also Affiliate

   Faculty at the Philip R. Lee Institute for Health Policy Studies. As a member of the faculty at

   UCSF, I serve as director of the Gender Psychiatry Program in the Division of Child & Adolescent

   Psychiatry. I also serve as an attending psychiatrist in the adult LGBT psychiatry clinic, and in the

   eating disorders program. I conduct research focusing on the determinants of mental health among

   transgender youth and teach medical students, psychology trainees, psychiatry residents, and child

   and adolescent psychiatry fellows.

          5.      I received my undergraduate degree in neuroscience from Harvard College. I

   received both my MD and Master of Health Science degrees from Yale University School of

   Medicine. I completed residency training in general psychiatry in the combined Massachusetts

   General Hospital / McLean Hospital residency training program (Harvard Medical School) and

   fellowship training in child and adolescent psychiatry at Stanford University. I am board certified

   in psychiatry by The American Board of Psychiatry and Neurology.

          6.      My research focuses on the mental health of transgender youth and gender

   dysphoria. While at Yale, I was awarded the Ferris Prize for my thesis entitled “Evolving

   Treatment Paradigms for Transgender Youth.” In 2017, I received the United States Preventative

   Health Services Award for Excellence in Public Health based on my work related to the mental

   health of transgender youth. I have lectured on the mental health of transgender youth at Yale

   School of Medicine, The University of California San Francisco, Stanford University, and The

   Massachusetts General Hospital (a teaching hospital of Harvard Medical School). I have given

   grand rounds presentations around the country and have presented nationally and internationally



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   on topics related to the mental health of transgender people and people experiencing gender

   dysphoria.

            7.    I have served as a manuscript reviewer for numerous professional publications,

   including The Journal of The American Medical Association (JAMA), JAMA Pediatrics, JAMA

   Psychiatry, The Journal of The American Academy of Child & Adolescent Psychiatry, Pediatrics,

   The Journal of Adolescent Health, and The American Journal of Public Health. I have served as

   lead author for textbook chapters on the mental health of transgender youth, including for Lewis’s

   Child & Adolescent Psychiatry: A Comprehensive Textbook and the textbook of The International

   Academy for Child & Adolescent Psychiatry and Allied Professionals. I am co-editor of the

   textbook Pediatric Gender Identity: Gender-Affirming Care for Transgender and Gender Diverse

   Youth.

            8.    I have published extensively on the topic of transgender youth, including ten

   articles in peer-reviewed journals within the past two years.

            9.    I was deposed and testified at trial in Brandt et al. v. Rutledge, et al., No. 21-CV-

   450 (D. Ark. 2021).

            10.   I am being compensated at an hourly rate of $400 per hour for preparation of expert

   declarations and reports, and for time spent preparing for or giving deposition or trial testimony.

   My compensation does not depend on the outcome of this litigation, the opinions I express, or the

   testimony I provide.

                                     SUMMARY OF OPINIONS

            11.   In this declaration, I cite relevant literature to support my opinions that: (1) gender-

   affirming medical interventions improve mental health outcomes for adolescents with gender

   dysphoria when medically indicated; (2) adolescents who experience gender dysphoria at the onset



                                                     3
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   of puberty rarely come to identify with their assigned sex at birth, and (3) de-transition and regret

   among individuals receiving medical treatment for gender dysphoria are uncommon.

   GENDER-AFFIRMING MEDICAL INTERVENTIONS IMPROVE MENTAL HEALTH
       OUTCOMES FOR ADOLESCENTS WITH GENDER DYSPHORIA WHEN
                       MEDICALLY INDICATED

          12.     The medical care ban is not supported by data and runs counter to the widely

   accepted views of the mainstream medical community. Existing research shows gender-affirming

   medical treatments for adolescents with gender dysphoria are consistently linked to improved

   mental health, and denial of such care is expected to lead to adverse mental health outcomes,

   including, in some instances, worsening suicidality.

          13.     All relevant major medical organizations have highlighted the importance of

   gender-affirming medical care for adolescents with gender dysphoria and have issued explicit

   statements opposing bans on this care. These organizations include The American Medical

   Association, The American Academy of Pediatrics, The American Psychiatric Association, The

   American College of Physicians, The American Academy of Family Physicians, The American

   Academy of Child & Adolescent Psychiatry, The Endocrine Society, The Pediatric Endocrine

   Society, The World Professional Association for Transgender Health, and the United States

   Professional Association for Transgender Health. 1

          14.     A substantial body of evidence links gender-affirming medical interventions to

   improved mental health outcomes for adolescents with gender dysphoria, who, without treatment,

   experience higher levels of depression, anxiety, and suicidality. While each of these studies—as

   with all studies in medicine—has strengths and limitations, and no one study design can answer


   1
          For a list of statements, please see Turban, J. L., Kraschel, K. L., & Cohen, I. G. (2021).
          Legislation to criminalize gender-affirming medical care for transgender
          youth. JAMA, 325(22), 2251-2252.


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   all questions regarding an intervention, taken together, these studies indicate that gender-affirming

   medical care improves mental health for adolescents who require such care.

            15.    Peer-reviewed cross-sectional and longitudinal studies 2 have found that pubertal

   suppression is associated with a range of improved mental health outcomes for adolescents with

   gender     dysphoria,   including   statistically       significant   improvements   in   internalizing

   psychopathology (i.e., anxiety and depression), externalizing psychopathology (e.g., disruptive

   behaviors), global functioning, and suicidality. 3 For example, in the realm of cross-sectional

   studies, Turban et al. Pediatrics 2020 found that, after controlling for a range of other variables,

   those who accessed pubertal suppression had lower odds of lifetime suicidal ideation than those

   who desired but were unable to access this intervention during adolescence. 4 A similar study by

   van der Miesen et al. in the Journal of Adolescent Health compared 272 adolescents who had not

   yet received pubertal suppression with 178 adolescents who had been treated with pubertal



   2
            A note on methodology: cross-sectional studies examine mental health at a single point in
            time. For example, van der Miesen et al. 2020 Journal of Adolesent Health compared, at
            a single time point, those who accessed pubertal suppression with those who desired but
            had not accessed it. Longitudinl studies examine multiple time points (e.g., looking at
            levels of suicidality before and after gender-affirming medical care).
   3
            See for example, de Vries, A.L., Steensma, T.D., Doreleijers, T.A., & Cohen‐Kettenis, P.T.
            (2011). Puberty Suppression in Adolescents with Gender Identity Disorder: A Prospective
            Follow‐Up Study. The Journal of Sexual Medicine, 8(8), 2276-2283., Turban, J.L., King,
            D., Carswell, J.M., & Keuroghlian, A.S. (2020). Pubertal Suppression for Transgender
            Youth and Risk of Suicidal Ideation. Pediatrics, 145(2):e20191725., van der Miesen, A.I.,
            Steensma, T.D., de Vries, A.L., et al. (2020). Psychological Functioning in Transgender
            Adolescents Before and After Gender-Affirmative Care Compared with Cisgender General
            Population Peers. Journal of Adolescent Health, 66(6), 699-704., and Achille, C., Taggart,
            T., Eaton, N.R., et al. (2020). Longitudinal Impact of Gender-Affirming Endocrine
            Intervention on the Mental Health and Well-Being of Transgender Youths: Preliminary
            Results. International Journal of Pediatric Endocrinology, 2020(8), 1-5.
   4
            Turban, J.L., King, D., Carswell, J.M., & Keuroghlian, A.S. (2020). Pubertal Suppression
            for Transgender Youth and Risk of Suicidal Ideation. Pediatrics, 145(2):e20191725.


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   suppression. 5 Those who had received pubertal suppression had statistically significant lower

   “internalizing psychopathology” scores (a measure of anxiety and depression). Longitudinal

   studies have yielded similar results. 6

           16.    Peer-reviewed research studies have likewise found improved mental health

   outcomes following gender-affirming hormone treatment (e.g., estrogen or testosterone) for

   individuals with gender dysphoria, including adolescents. These include statistically significant

   improvements in internalizing psychopathology (e.g., anxiety and depression), general well-being,

   and suicidality. 7 For example, Chen et al. followed a cohort of 315 transgender youth receiving

   gender-affirming hormone treatment and found improvements in anxiety, depression, and life




   5
           van der Miesen, A.I., Steensma, T.D., de Vries, A.L., et al. (2020). Psychological
           Functioning in Transgender Adolescents Before and After Gender-Affirmative Care
           Compared with Cisgender General Population Peers. Journal of Adolescent Health, 66(6),
           699-704.
   6
           See for example, de Vries, A.L., McGuire, J.K., Steensma, T.D., et al. (2014). Young
           Adult Psychological Outcome After Puberty Suppression and Gender
           Reassignment. Pediatrics, 134(4), 696-704 and Costa, R., Dunsford, M., Skagerberg, E.,
           Holt, V., Carmichael, P., & Colizzi, M. (2015). Psychological support, puberty
           suppression, and psychosocial functioning in adolescents with gender dysphoria. Journal
           of Sexual Medicine, 12(11), 2206-2214.
   7
           See for example, Chen, D., Berona, J., Chan, Y. M., Ehrensaft, D., Garofalo, R., Hidalgo,
           M. A., ... & Olson-Kennedy, J. (2023). Psychosocial Functioning in Transgender Youth
           after 2 Years of Hormones. New England Journal of Medicine, 388(3), 240-250., Allen,
           L.R., Watson, L.B., Egan, A.M., & Moser, C.N. (2019). Well-Being and Suicidality
           Among Transgender Youth After Gender-Affirming Hormones. Clinical Practice in
           Pediatric Psychology, 7(3), 302-311., Achille, C., Taggart, T., Eaton, N.R., et al. (2020).
           Longitudinal Impact of Gender-Affirming Endocrine Intervention on the Mental Health
           and Well-Being of Transgender Youths: Preliminary Results. International Journal of
           Pediatric Endocrinology, 2020(8), 1-5., and de Lara, D.L., Rodríguez, O.P., Flores, I.C.,
           et al. (2020). Psychosocial Assessment in Transgender Adolescents. Anales de Pediatría
           (English Edition), 93(1), 41-48..

                                                    6
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   satisfaction. 8 Similarly, Allen et al. followed a cohort of 47 adolescents with gender dysphoria,

   and found statistically significant improvements in general well-being and suicidality, as measured

   by the National Institutes of Health “Ask Suicide Screening Questions” instrument. 9 Cross-

   sectional studies comparing those who accessed gender-affirming hormones during adolescence

   to those who did not access these interventions have similarly linked access to gender-affirming

   hormone treatment during adolescence to lower odds of suicidality. 10

          17.     Peer-reviewed research has also shown improvements in mental health following

   gender-affirming chest surgery11 for transmasculine adolescents with gender dysphoria, where

   medically indicated. 12 A study by Tang et al. examined 209 adolescents who had undergone


   8
          Chen, D., Berona, J., Chan, Y. M., Ehrensaft, D., Garofalo, R., Hidalgo, M. A., ... &
          Olson-Kennedy, J. (2023). Psychosocial Functioning in Transgender Youth after 2 Years
          of Hormones. New England Journal of Medicine, 388(3), 240-250.
   9
          Allen, L.R., Watson, L.B., Egan, A.M., & Moser, C.N. (2019). Well-Being and Suicidality
          Among Transgender Youth After Gender-Affirming Hormones. Clinical Practice in
          Pediatric Psychology, 7(3), 302-311.
   10
          See for example, Turban, J. L., King, D., Kobe, J., Reisner, S. L., & Keuroghlian, A. S.
          (2022). Access to gender-affirming hormones during adolescence and mental health
          outcomes among transgender adults. PLoS One, 17(1), e0261039 and Green, A. E.,
          DeChants, J. P., Price, M. N., & Davis, C. K. (2022). Association of gender-affirming
          hormone therapy with depression, thoughts of suicide, and attempted suicide among
          transgender and nonbinary youth. Journal of Adolescent Health, 70(4), 643-649.
   11
          Of note, all surgical interventions in pediatrics (for gender dysphoria or otherwise) are
          approached with substantial caution, given the risks inherit with any kind of surgery.
          Gender-affirming chest surgery is only considered for adolescents with gender dysphoria
          when an interdisciplinary team, including medical providers, surgical providers, mental
          health providers, the adolescent, and their legal guardians are in agreement that the
          benefits of such an intervention would outweigh the risks.
   12
          Olson-Kennedy, J., Warus, J., Okonta, V., et al. (2018). Chest Reconstruction and Chest
          Dysphoria in Transmasculine Minors and Young Adults: Comparisons of Nonsurgical and
          Postsurgical Cohorts. JAMA Pediatrics, 172(5), 431-436; Mehringer, J.E., Harrison, J.B.,
          Quain, K.M., et al. (2021). Experience of Chest Dysphoria and Masculinizing Chest
          Surgery in Transmasculine Youth. Pediatrics, 147(3):e2020013300. Large studies of
                                                   7
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   gender-affirming chest surgery between 2013 and 2020 and found an extremely low rate of post-

   operative regret (0.95%). 13

          18.     Overall, as summarized above, existing peer-reviewed published research studies

   consistently link gender-affirming medical interventions to improved mental health for individuals

   with gender dysphoria, including adolescents.

          19.     There are no evidence-based interventions, other than gender-affirming medical

   care, that treat adolescent gender dysphoria. There are no evidence-based psychotherapy protocols

   that effectively treat gender dysphoria. Under this law, medical and mental health providers would

   be left with no evidence-based treatment approaches to support their adolescent patients with

   gender dysphoria. This would be a devastaing situation for adolescents and their parents,

   physicians, and other mental health providers who care for them.

          20.     In the past, some clinicians have described psychotherapeutic strategies that aimed

   to result in youth with gender dysphoria identifying with their sex assigned at birth. 14 Such

   practices, termed “gender identity conversion efforts,” have subsequently been linked to adverse

   mental health outcomes, including suicide attempts. 15 In addition to being harmful, there is no



          primarily adults have also shown high rates of satisfaction with gender-affirming chest
          surgery; for example, a recent systematic review that included data from 1,052
          transmasculine patients found that pooled overall postoperative satisfaction was 92%.
          Bustos, V.P., Bustos, S.S., Mascaro, A., et al. (2021). Transgender and Gender-Nonbinary
          Patient Satisfaction After Transmasculine Chest Surgery. Plastic and Reconstructive
          Surgery Global Open, 9(3):e3479.
   13
          Tang, A., Hojilla, J. C., Jackson, J. E., Rothenberg, K. A., Gologorsky, R. C., Stram, D.
          A., ... & Yokoo, K. M. (2022). Gender-affirming mastectomy trends and surgical
          outcomes in adolescents. Annals of Plastic Surgery, 88(4), S325-S331

   14
          Meyer-Bahlburg, H.F. (2002). Gender Identity Disorder in Young Boys: A Parent-and
          Peer-Based Treatment Protocol. Clinical Child Psychology and Psychiatry, 7(3), 360-376.


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   peer-reviewed research to suggest that these gender identity conversion efforts are successful in

   changing a person’s gender identity from transgender to cisgender. Gender identity conversion

   efforts have been labelled unethical by major medical organizations including The American

   Medical Association 16 and The American Academy of Child & Adolescent Psychiatry. 17

          21.    The studies supporting the efficacy of gender-affirming care have had substantially

   long follow-up periods, particularly when compared to other commonly used medications in

   pediatrics. For example, one study by deVries et al. in the journal Pediatrics examined mental

   health outcomes a mean 5.9 years after starting pubertal suppression. 18 Turban et al. 2022 PLoS

   One, which found associations between access to gender-affirming hormone treatment during

   adolescence and better mental health outcomes, similarly examined mental health outcomes a

   mean six to seven years after starting gender-affirming hormones. 19 To put this into context, a



   15
          Turban, J.L., Beckwith, N., Reisner, S.L., & Keuroghlian, A.S. (2020). Association
          Between Recalled Exposure to Gender Identity Conversion Efforts and Psychological
          Distress and Suicide Attempts Among Transgender Adults. JAMA Psychiatry, 77(1), 68-
          76.
   16
          American Medical Association. (2017). Health Care Needs of Lesbian, Gay, Bisexual and
          Transgender Populations.        H-160.991.     Available at https://policysearch.ama-
          assn.org/policyfinder/detail/gender%20identity?uri=%2FAMADoc%2FHOD.xml-0-
          805.xml.
   17
          The American Academy of Child & Adolescent Psychiatry. (2018). Conversion Therapy.
          Available at
          https://www.aacap.org/AACAP/Policy_Statements/2018/Conversion_Therapy.aspx.

   18
          de Vries, A.L., McGuire, J.K., Steensma, T.D., et al. (2014). Young Adult
          Psychological Outcome After Puberty Suppression and Gender
          Reassignment. Pediatrics, 134(4), 696-704.
   19
          Turban J.L., King D., Kobe J., Reisner S.L., Keuroghlian A.S. (2022) Access to gender-
          affirming hormones during adolescence and mental health outcomes among transgender
          adults. PLoS One. 17(1): e0261039.


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   major study used by the FDA to approve the medication lurasidone for bipolar depression in

   children and adolescents followed study participants for six weeks. 20 If the state were to ban all

   medications that lack at least a decade of long-term follow up studies, that would require banning

   a substantial proportion of FDA-approved and relied-upon medications.

          22.     Given the well-documented benefits of gender-affirming medical care outlined

   above, and the known harms of untreated adolescent gender dysphoria, banning this care is

   expected to lead to substantial deterioration of mental health for adolescents diagnosed with gender

   dysphoria. For many of these patients, this is likely to include worsening suicidality. 21 A recent

   qualitative study of 273 parents of transgender youth identified that bans on gender-affirming care

   led to substantial concerns that their children would have worsening mental health and be at an

   increased risk of death from suicide. 22 These parents implored lawmakers to leave critical

   decisions about gender-affirming medical interventions to families and their medical providers.23

   While parent report only studies (i.e., those that do not include the perspectives of patients


   20
          DelBello, M. P., Goldman, R., Phillips, D., Deng, L., Cucchiaro, J., & Loebel, A. (2017).
          Efficacy and safety of lurasidone in children and adolescents with bipolar I depression: a
          double-blind, placebo-controlled study. Journal of the American Academy of Child &
          Adolescent Psychiatry, 56(12), 1015-1025.
   21
          See, for example, Green, A. E., DeChants, J. P., Price, M. N., & Davis, C. K. (2022).
          Association of gender-affirming hormone therapy with depression, thoughts of suicide,
          and attempted suicide among transgender and nonbinary youth. Journal of Adolescent
          Health, 70(4), 643-649 and other studies cited above.
   22
          Kidd, K. M., Sequeira, G. M., Paglisotti, T., Katz-Wise, S. L., Kazmerski, T. M., Hillier,
          A., ... & Dowshen, N. (2021). “This could mean death for my child”: Parent perspectives
          on laws banning gender-affirming care for transgender adolescents. Journal of
          Adolescent Health, 68(6), 1082-1088.
   23
          Kidd, K. M., Sequeira, G. M., Paglisotti, T., Katz-Wise, S. L., Kazmerski, T. M., Hillier,
          A., ... & Dowshen, N. (2021). “This could mean death for my child”: Parent perspectives
          on laws banning gender-affirming care for transgender adolescents. Journal of
          Adolescent Health, 68(6), 1082-1088.

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   themselves) should be interpreted with caution, these findings closely align with the other patient-

   report studies mentioned earlier and thus warrant serious concern. Another qualitative study of 103

   healthcare providers who care for transgender youth similarly identified substantial concerns that

   such bans would lead to worsening mental health and increased risk of suicide for adolescents with

   gender dysphoria. 24

    ADOLESCENTS WHO EXPERIENCE GENDER DYSPHORIA AT THE ONSET OF
   PUBERTY RARELY COME TO IDENTIFY WITH THEIR ASSIGNED SEX AT BIRTH

          23.     Though the terms “children” and “adolescents” are sometimes used synonymously

   in common parlance, these terms have specific and distinct meanings in the context of child and

   adolescent psychiatric research. In this field, “child” and “children” refer to minors who have not

   yet reached the earliest stages of puberty. The terms “adolescent” and “adolescents” refer to

   minors who have begun puberty. Studies of prepubertal children (who are not candidates for

   gender-affirming medical interventions under any existing clinical guidelines) cannot be conflated

   with studies of adolescents (who, depending on several factors, may be candidates for various

   forms of gender-affirming medical interventions).

          24.     This distinction is vital in the realm of “desistence” studies (i.e., studies that aim to

   assess how many young people who identify as transgender will later identify as cisgender). The

   suggestion that a majority of transgender minors affected by this law will come to identify with

   their assigned sex at birth inappropriately relies on studies of gender diverse prepubertal children,

   which have, in the past, shown that many of these children will not grow up to be transgender.

   These studies do not apply to transgender minors who have reached puberty (i.e., “adolescents”).



   24
          Hughes, L. D., Kidd, K. M., Gamarel, K. E., Operario, D., & Dowshen, N. (2021).
          “These laws will be devastating”: Provider perspectives on legislation banning gender-
          affirming care for transgender adolescents. Journal of Adolescent Health, 69(6), 976-982.

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   Once a transgender youth begins puberty, it is rare for them to later identify as cisgender.25

   Furthermore, physicians and families must weigh the low risk of a future cisgender identification

   against the often substantial risk of deteriorating mental health due to active gender dysphoria.

   Under existing medical guidelines, any minor who is considering gender-affirming medical or

   surgical interventions must first work with a mental health professional to conduct a complete

   biopsychosocial evaluation, which includes ensuring that an adolescent and their parents

   understand the complexity of this decision. Such evaluations are designed to minimize regret rates.

          25.     Any study regarding prepubertal children and their likelihood of ultimately

   identifying as transgender should not be used to assess the interventions targeted by the medical

   care ban, namely, pubertal suppression, hormone therapy, and gender-affirming surgery, since

   none of these interventions are provided to prepubertal patients under current medical guidelines. 26

          26.     Further, the utility of “desistence” studies even for assessing the likelihood that

   prepubertal children will persist in a transgender identity has been questioned due to their reliance

   on an outdated diagnosis of “gender identity disorder in children,” which did not require a child to

   identify as a sex different than their sex assigned at birth. This diagnosis likely captured many

   cisgender “tomboys” or cisgender boys with feminine interests like dresses or dolls who never

   identified as transgender and, thus, unsurprisingly did not identify as transgender when followed



   25
          See for example de Vries, A.L., McGuire, J.K., Steensma, T.D., et al. (2014). Young
          Adult Psychological Outcome After Puberty Suppression and Gender
          Reassignment. Pediatrics, 134(4), 696-704., Turban, J.L., de Vries, A.L.C., & Zucker, K.
          (2018). Gender Incongruence & Gender Dysphoria. In Martin A., Bloch M.H., &
          Volkmar F.R. (Editors): Lewis’s Child and Adolescent Psychiatry: A Comprehensive
          Textbook, Fifth Edition. Philadelphia: Wolters Kluwer.
   26
          Hembree, W.C., Cohen-Kettenis, P.T., Gooren, L., et al. (2017). Endocrine Treatment of
          Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical Practice
          Guideline. The Journal of Clinical Endocrinology & Metabolism, 102(11), 3869-3903.


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   up with later in life. In contrast, the diagnosis of “gender dysphoria in children” requires one to

   not merely have gender atypical interests and behaviors; one must identify as a gender different

   than one’s sex assigned at birth. This is a vital distinction. While the diagnostic category of

   “gender identity disorder” would capture many cisgender children, the diagnostic category of

   “gender dysphoria,” by definition, does not. 27 Of note, a recent study by Kristina Olson et al. found

   that the vast majority of prepubertal transgender children continued to identify as transgender over

   a five-year follow-up period. 28

        DE-TRANSITION AND REGRET AMONG INDIVIDUALS RECEIVING MEDICAL
               TREATMENT FOR GENDER DYSPHORIA ARE UNCOMMON

           27.    De-transition and transition regret are distinct concepts, and transition regret is

   uncommon.

           28.    The term “de-transition” is used inconsistently in literature and may sometimes

   refer to simply the stopping of medical interventions. But discontinuation of gender-affirming

   medical interventions does not always coincide with a change in understanding of one’s gender

   identity or with transition-related regret. Rather, transgender adolescent patients who discontinue

   gender-affirming medical interventions may do so because of external factors (e.g., pressure from

   family, societal rejection, harassment by peers). For example, a substantial number of currently

   identified transgender people (13.1%) have “de-transitioned” at some point in their life, with the




   27
           The desistance have also been criticized for a range of methodological limitations.
           Olson, K.R. (2016). Prepubescent Transgender Children: What We Do and Do Not
           Know. Journal of the American Academy of Child & Adolescent Psychiatry, 3(55), 155-
           156.
   28
           Olson, K. R., Durwood, L., Horton, R., Gallagher, N. M., & Devor, A. (2022). Gender
           identity 5 years after social transition. Pediatrics.


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   majority (82.5%) citing external factors like family rejection, societal stigma, or harassment. 29

   Given that these people currently identify as transgender, it highlights that many people who “de-

   transition” choose to transition again in the future.

           29.     Studies focused specifically on regret, as opposed to the broad heterogeneous

   category of “de-transition,” indicate that regret is extremely rare. In 2018, Amsterdam’s VUMC

   Center of Expertise on Gender Dysphoria published the rates of regret among their cohort of 6,793

   transgender patients who had undergone gender-affirming medical and/or surgical interventions. 30

   Among transgender women with gender dysphoria who underwent gender-affirming surgery,

   0.6% experienced regret. Among transgender men with gender dysphoria who underwent gender-

   affirming surgery, 0.3% experienced regret. Several of those who experienced regret were

   classified as having “social regret” rather than “true regret,” defined in the study as still identifying

   as transgender but deciding to reverse their gender-affirming surgery due to factors like “the loss

   of relatives [being] a large sacrifice.” The study also reported that only 1.9% of adolescents who

   started pubertal suppression did not choose to go onto gender-affirming hormones. In a second

   study of 143 transgender adolescents who started pubertal suppression, five adolescents (3.5%)

   decided not to proceed with further gender-affirming medical treatments. 31 One of these



   29
           Turban, J. L., Loo, S. S., Almazan, A. N., & Keuroghlian, A. S. (2021). Factors Leading
           to “Detransition” Among Transgender and Gender Diverse People in the United States: A
           Mixed-Methods Analysis. LGBT Health, 8(4), 273-280.
   30
           Wiepjes, C. M., Nota, N. M., de Blok, C. J., Klaver, M., de Vries, A. L., Wensing-
           Kruger, S. A., ... & den Heijer, M. (2018). The Amsterdam cohort of gender dysphoria
           study (1972–2015): trends in prevalence, treatment, and regrets. The Journal of Sexual
           Medicine, 15(4), 582-590.
   31
           Brik, T., Vrouenraets, L. J., de Vries, M. C., & Hannema, S. E. (2020). Trajectories of
           adolescents treated with gonadotropin-releasing hormone analogues for gender
           dysphoria. Archives of Sexual Behavior, 49(7), 2611-2618.


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   adolescents noted that pubertal suppression helped them to better understand their gender identity,

   and they ultimately identified with their sex assigned at birth. One birth-assigned female had

   ongoing chest dysphoria but chose to live with a female gender expression regardless, though was

   dreading further breast development and menstruation. One stopped due to unspecified

   “psychosocial reasons” but continued to identify as transgender. One identified as gender non-

   binary and felt they no longer needed treatment. One came to identify with his sex assigned at

   birth. There was no indication that any of these adolescents regretted pubertal suppression; rather,

   this study shows that the treatment served its goal of allowing adolescents more time to better

   understand their gender identity before being assessed for additional treatment. Cases of initiating

   then discontinuing gender-affirming hormones like estrogen or testosterone appear to be

   uncommon, largely at the case report level. 32 In one of these case reports, a patient similarly noted

   that a trial of estrogen helped them to better understand their gender identity, which had evolved

   to non-binary, and they did not regret initiating estrogen therapy. 33 Though there have been

   scattered and difficult-to-confirm social media reports of people regretting gender-affirming

   medical care, this must be considered in the context of the 1.4 million transgender people in the

   United States alone. 34

          30.     All treatments in medicine carry risks, benefits, and side effects. It is essential that

   parents, adolescents, and their doctors be able to work together to weigh these factors and choose


   32
          A case report is a publication in which clinicians report on what occurred with a single
          patient.
   33
          Turban, J. L., Carswell, J., & Keuroghlian, A. S. (2018). Understanding pediatric patients
          who discontinue gender-affirming hormonal interventions. JAMA Pediatrics, 172(10),
          903-904.
   34
          Flores, A.R., Herman, J.L., Gates, G.J., & Brown, T.N.T. (2016). How Many Adults
          Identifyas Transgender in the United States? Los Angeles: The Williams Institute.


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   a path forward that is most likely to improve a young person’s health, including their mental health.

   If the government were to ban all medical treatments with potential adverse side effects or the

   possibility of regret, it would ban essentially of all medicine. As one example, the vast majority of

   people who take the antibiotic penicillin find that their infections resolve; however, a small number

   of people will experience Stevens-Johnson syndrome (SJS) or toxic epidermal necroylysis (TEN)

   from the medication – rare potentially fatal conditions in which the person’s skin detaches. 35

   Morality rates from SJS/TEN are as high as 50%. The cholesterol-lowering medication atorvastatin

   (known to many under the brand name Lipitor) is one of the most commonly prescribed

   medications in the U.S., given its potential to lower cholesterol and subsequently reduce the risk

   of a heart attack. However, a small number of people will experience rhabdomyolysis as a side

   effect – a potentially fatal form of muscle breakdown that can cause kidney damage. Though both

   these medications carry a serious risk of adverse side effects, they help the vast majority of people,

   and thus should not be—and are not—banned. The responsibility of the provider of care is to

   inform patients about these risks, benefits, and potential side effects, and work with patients and

   families to identify the best course of action. Gender-affirming care is not unique in carrying risks,

   side effects, or the possibility of regret.

           31.     While there is undoubtedly a small number of people who start gender-affirming

   medical interventions and later stop them, only a minority of this small number appear to regret

   the treatment, and existing research suggests that regret following gender-affirming medical

   interventions is rare. As with all medical interventions, gender-affirming medical interventions

   cannot claim a 100% success rate. However, for the vast majority of adolescents, these


   35
           Lee, E. Y., Knox, C., & Phillips, E. J. (2023). Worldwide Prevalence of Antibiotic-
           Associated Stevens-Johnson Syndrome and Toxic Epidermal Necrolysis: A Systematic
           Review and Meta-analysis. JAMA Dermatology.

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   interventions improve mental health. Accordingly, it is dangerous to take the only evidence-based

   treatment option away from families and physicians as they work together to examine existing

   evidence and their individual case to determine what pathway is most likely to result in favorable

   mental health outcomes for an adolescent.

                                             CONCLUSION

          32.     In summary, gender-affirming medical care for adolescent gender dysphoria, when

   medically indicated, is supported by a substantial body of peer-reviewed scientific evidence that

   has been collected over more than a decade. Though these treatments, like all medical treatments,

   carry potential risks and side effects, these potential risks must be weighed against the benefits of

   treatment. There is nothing anomalous about the risks and side effects of treatment for gender

   dysphoria that would warrant singling out this care for prohibition. It is essential that physicians

   be able to work with adolescents and their families to weigh benefits against potential risks and

   side effects and provide the care that is appropriate for a given adolescent and their family. Banning

   these medical interventions would leave physicians without any evidence-based treatments for

   adolescent gender dysphoria, which, when left untreated, has been linked to dramatic adverse

   mental health outcomes, including suicidality. For these reasons, all relevant major medical

   organizations (The American Medical Association, The American Academy of Pediatrics, The

   American Psychiatric Association, The American Academy of Child & Adolescent Psychiatry,

   The Endocrine Society, and The Pediatric Endocrone Society, to name a few) oppose bans on

   gender-affirming medical care for adolescents with gender dysphoria.




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         Executed this 30th day of April 2023.




                                                      JACK L. TURBAN, MD, MHS




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                                    EXHIBIT A
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                                          Jack Lewis Turban III MD MHS
                                                   401 Parnassus Ave
                                                San Francisco, CA 94143

ACADEMIC APPOINTMENTS
University of California, San Francsisco School of Medicine San Francisco, CA.                    September 2022-Present
Assistant Professor of Child & Adolescent Psychiatry and Affiliate Faculty in the Philip R. Lee Institute for Health Policy
Studies. Responsibilities include directing the Gender Psychiatry Program and serving as an attending psychiatrist in the
adult LGBT psychiatry clinic, and in the eating disorders clinic, as well as conducting research focusing on the
determinants of mental health among transgender and gender diverse youth and the teaching of medical students,
residents, and fellows.

EDUCATION & TRAINING
Stanford University School of Medicine Palo Alto, CA                                                  July 2020-Present
Fellow in Child & Adolescent Psychiatry. Fellow in child and adolescent psychiatry. Research focused on pediatric
gender identity and LGBTQ mental health. Served as administrative chief fellow 2021-2022.

Massachusetts General Hospital & McLean Hospital Boston, MA                                        July 2017 – May 2020
Integrated Adult, Child, & Adolescent Psychiatry Resident. Resident physician in the integrated adult, child, and
adolescent psychiatry program. Research focused on pediatric gender identity and LGBT mental health.

Yale School of Medicine New Haven, CT.                                                           August 2012- May 2017
Doctor of Medicine & Master of Health Science with honors. Clinical rotations included inpatient pediatrics, inpatient
child psychiatry, inpatient adolescent psychiatry, residential adolescent psychiatry, psychiatric consult liaison service,
clinical neuromodulation, neurology clinics, and neurosurgery. Completed award-winning masters’ thesis as a Howard
Hughes Medical Institute (HHMI) medical research fellow on evolving treatment paradigms for transgender youth.
Clerkship Grades: All Honors
USMLE: Step 1 (252), Step 2 (256)

Harvard University Cambridge, MA                                                            September 2007- May 2011
B.A. Neurobiology magna cum laude with a secondary in the Dramatic Arts. Coursework included clinical neuroscience,
systems neurobiology, visual neuroscience, positive psychology, neurobiology of behavior, CNS regenerative techniques,
neuroanatomy, vertebrate surgery, and extensive coursework in dramatic theory and practice. International study included
Spanish language (Alicante, Spain), stem cell biology (Shanghai, China), and studying how visual art may be used as a
window into the mechanisms of neural processing (Trento, Italy). Honors thesis completed at The Massachusetts Eye &
Ear Infirmary studying inner-ear development and regeneration. GPA: 3.8/4.0

SELECTED PEER REVIEWED PUBLICATIONS: ORIGINAL RESEARCH
Turban J.L., Dolotina B., Freitag T.M., King D., Keuroghlian A.S. Age of realization of transgender identity and mental
health outcomes among transgender and gender diverse adults: examining the “rapid onset gender dysphoria” hypothesis.
Journal of Adolescent Health. [Online First]

Turban J.L., Dolotina B., King D., Keuroghlian A.S. (2022) Sex assigned at birth ratio among transgender and gender
diverse adolescents in the United States. Pediatrics. 150(3): e2022056567.

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adolescence and mental health outcomes among transgender adults. PLoS ONE, 17(1): e0261039.

Passell E., Rutter L.A., Turban J.L., Scheuer L., Wright N., Germine L. (2021) Generalized Anxiety Disorder Symptoms
are Higher Among Same- and Both-Sex Attracted Individuals in a Large, International Sample. Sexuality Research and
Social Policy. [ePub ahead of print]

Lewis, J. M., Monico, P. F., Mirza, F. N., Xu, S., Yumeen, S., Turban, J. L., Galan A., & Girardi, M. (2021). Chronic
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Proceedings of the National Academy of Sciences, 118(37).
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                                          Jack Lewis Turban III MD MHS
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Turban J.L., King, D., Li, J.L., Keuroghian, A.S. (2021) Timing of Social Transition for Transgender and Gender
Diverse Youth, K-12 Harassment, and Adult Mental Health Outcomes. Journal of Adolescent Health. 69(6), 991-998.

Turban J.L., Loo, S. S., Almazan, A. N., Keuroghlian, A.S. (2021) Factors Leading to “Detransition” Among
Transgender and Gender Diverse People in the United States: A Mixed-Methods Analysis. LGBT Health. 8(4), 273-280.

Turban, J. L., Passell E, Scheer L, Germine L. (2020) Use of Geosocial Networking Applications Is Associated With
Compulsive Sexual Behavior Disorder in an Online Sample. The Journal of Sexual Medicine. 17(8), 1574-1578.

Turban, J. L., King, D., Carswell, J. M., & Keuroghlian, A. S. (2020). Pubertal suppression for transgender youth and
risk of suicidal ideation. Pediatrics, 145(2), e20191725.

Turban, J. L., Shirk, S. D., Potenza, M. N., Hoff, R. A., & Kraus, S. W. (2020). Posting Sexually Explicit Images or
Videos of Oneself Online Is Associated With Impulsivity and Hypersexuality but Not Measures of Psychopathology in a
Sample of US Veterans. The Journal of Sexual Medicine, 17(1), 163-167.

Turban, J. L., Beckwith, N., Reisner, S. L., & Keuroghlian, A. S. (2020). Association between recalled exposure to
gender identity conversion efforts and psychological distress and suicide attempts among transgender adults. JAMA
Psychiatry, 77(1), 68-76.

Acosta, W., Qayyum, Z., Turban, J. L., & van Schalkwyk, G. I. (2019). Identify, engage, understand: Supporting
transgender youth in an inpatient psychiatric hospital. Psychiatric Quarterly, 90(3), 601-612.

Turban, J. L., King, D., Reisner, S. L., & Keuroghlian, A. S. (2019). Psychological Attempts to Change a Person’s
Gender Identity from Transgender to Cisgender: Estimated Prevalence Across US States, 2015. American Journal of
Public Health, 109(10), 1452-1454.

Turban, J. L., Winer, J., Boulware, S., VanDeusen, T., & Encandela, J. (2018). Knowledge and attitudes toward
transgender health. Clinical Teacher, 15(3), 203-207.

Turban, J. L., Potenza, M. N., Hoff, R. A., Martino, S., & Kraus, S. W. (2017). Psychiatric disorders, suicidal ideation,
and sexually transmitted infections among post-deployment veterans who utilize digital social media for sexual partner
seeking. Addictive Behaviors, 66, 96-100.

Turban J. L.*, Lu, A. Y*., Damisah, E. C., Li, J., Alomari, A. K., Eid, T., ... & Chiang, V. L. (2017). Novel biomarker
identification using metabolomic profiling to differentiate radiation necrosis and recurrent tumor following Gamma Knife
radiosurgery. Journal of Neurosurgery, 127(2), 388-396.

Kempfle, J. S., Turban, J. L., & Edge, A. S. (2016). Sox2 in the differentiation of cochlear progenitor cells. Scientific
Reports, 6, 23293.

SELECTED PEER REVIEWED PUBLICATIONS: COMMENTARY, REVIEWS, & PERSPECTIVES
Kraschel KL, Chen A, Turban JL, Cohen IG. Legislation restricting gender-affirming care for transgender youth: politics
eclipse healthcare. Cell Reports Medicine. 2022 Aug 16;3(8):100719.

Turban J.L., Brady C., & Olson-Kennedy J. Understanding & Supporting Patients with Dynamic Desires for Gender-
affirming Medical Interventions. JAMA Network Open.

Dolotina B. & Turban J.L. “Phantom Networks” Prevent Children & Adolescents from Obtaining the Mental Health
Care They Need. Health Affairs. 41(7).
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                                         Jack Lewis Turban III MD MHS
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Turban J.L., Kamceva M, Keuroghlian A.S. Pharmacologic Considerations for Transgender and Gender Diverse People.
JAMA Psychiatry. 79(6): 629-630.

Dolotina B. & Turban J.L.. (2022) A multipronged, evidence-based approach to improving mental health among
transgender and gender diverse youth. JAMA Network Open. 5(2): e220926.

Turban J.L., Almazan A.N., Reisner S.L., Keuroghlian A.S. (2022) The importance of non-probability samples in
minority health research: lessons learned from studies of transgender and gender diverse mental health. Transgender
Health. [ePub ahead of print]

Turban J.L., Kraschel K.L., Cohen, G.C. (2021) Legislation to Criminalize Gender-affirming Medical Care for
Transgender Youth. JAMA. 325(22), 2251-2252.

Liu M., Turban J.L., Mayer K.H. (2021) The US Supreme Court and Sexual and Gender Minority Health. American
Journal of Public Health. 111(7), 1220-1222.

Suto, D.J., Macapagal, K., Turban, J.L. (2021) Geosocial Networking Application Use Among Sexual Minority
Adolescents. Journal of the American Academy of Child & Adolescent Psychiatry. 60(4), 429-431.

Turban, J. L., Keuroghlian, A. S., & Mayer, K. H. (2020) Sexual Health in the SARS-CoV-2 Era. Annals of Internal
Medicine. 173(5), 387-389.

Suozzi, K., Turban, J.L., & Girardi, M. (2020). Focus: Skin: Cutaneous Photoprotection: A Review of the Current Status
and Evolving Strategies. The Yale Journal of Biology and Medicine, 93(1), 55.

Malta, M., LeGrand, S., Turban, J.L., Poteat, T., & Whetten, K. (2020). Gender-congruent government identification is
crucial for gender affirmation. The Lancet Public Health. 5(4), e178-e179.

Turban J.L. (2019). Medical Training in the Closet. The New England Journal of Medicine, 381(14), 1305.

Turban, J. L., & Keuroghlian, A. S. (2018). Dynamic gender presentations: understanding transition and" de-transition"
among transgender youth. Journal of the American Academy of Child and Adolescent Psychiatry, 57(7), 451-453.

Turban, J. L., Carswell, J., & Keuroghlian, A. S. (2018). Understanding pediatric patients who discontinue gender-
affirming hormonal interventions. JAMA Pediatrics, 172(10), 903-904.

Turban, J. L. (2018). Potentially Reversible Social Deficits Among Transgender Youth. Journal of Autism and
Developmental Disorders, 48(12), 4007-4009.

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real?. Journal of the American Academy of Child & Adolescent Psychiatry, 57(1), 8-9.

Turban, J. L., & Ehrensaft, D. (2018). Research review: gender identity in youth: treatment paradigms and
controversies. Journal of Child Psychology and Psychiatry, 59(12), 1228-1243.

Turban J. L., Genel, M. (2017) Evolving Treatment Paradigms for Transgender Patients. Connecticut Medicine, 81(8),
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Turban, J., Ferraiolo, T., Martin, A., & Olezeski, C. (2017). Ten things transgender and gender nonconforming youth
want their doctors to know. Journal of the American Academy of Child & Adolescent Psychiatry, 56(4), 275-277.

Turban, J. L. (2017). Transgender Youth: The Building Evidence Base for Early Social Transition. Journal of the
American Academy of Child and Adolescent Psychiatry, 56(2), 101.
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Turban J. L., Martin A. (2017) Book Forum: Becoming Nicole. Journal of the American Academy of Child & Adolescent
Psychiatry, 56(1): 91-92.

TEXTBOOKS AND TEXTBOOK CHAPTERS
Forcier, M., Van Schalkwyk, G., Turban, J. L. (Editors). Pediatric Gender Identity: Gender-affirming Care for
Transgender & Gender Diverse Youth. Springer Nature, 2020.

Challa M., Scott C., Turban J.L. Epidemiology of Pediatric Gender Identity. In Forcier, M., Van Schalkwyk, G.,
Turban, J. L. (Editors). Pediatric Gender Identity: Gender-affirming Care for Transgender & Gender Diverse Youth.
Springer Nature, 2020.

Turban J.L., Shadianloo S. Transgender & Gender Non-conforming Youth. In Rey, J.M. (Editor): IACAPAP e-Textbook
of Child and Adolescent Mental Health. Geneva. International Association of Child and Adolescent Psychiatry and Allied
Professionals, 2018.

Turban, J. L., DeVries, A.L.C., Zucker, K. Gender Incongruence & Gender Dysphoria. In Martin A., Bloch M.H.,
Volkmar F.R. (Editors): Lewis’s Child and Adolescent Psychiatry: A Comprehensive Textbook, Fifth Edition.
Philadelphia: Wolters Kluwer 2018.

INVITED GRAND ROUNDS PRESENTATIONS
Turban JL. Resaerch Updates: Supporting the Mental Health of Transgneder and Gender Diverse Youth. Department of
Behavioral Health, Wake Forest School of Medicine / Atrium Health, 2023.

Turban JL. Supporting the Mental Health of Transgender and Gender Diverse Youth. Child & Adolescent Psychiatry
Grand Rounds, Long Island Jewish Medical Center / Zucker Hillside, 2023.

Turban JL. Suicidality in Sexual and Gender Minority Youth. Psychiatry Grand Rounds, Boston Children’s Hospital,
2023.

Turban JL. Opinion Writing to Promote Public Health & Evidence-Based Public Policy. Medical Education Grand
Rounds, The University of Vermont Larner College of Medicine, 2022.

Turban JL. Research Updates: Supporting the Mental Health of Transgender & Gener Diverse Youth. Division of Child
& Adolescent Psychiatry Grand Rounds, Stanford University School of Medicine, 2022.

Turban JL. Supporting Transgender & Gender Diverse Youth: Research Updates & Treatment Paradigms. Department
of Psychiatry Grand Rounds, University of Nebraska Medical Center, 2022.

Turban JL. Supporting the Mental Health of Transgender & Gender Diverse Youth. Department of Pediatrics, Division
of Behavioral Health Grand Rounds, University of Utah, 2022.

Turban JL. Gender Diverse Youth: Treatment Paradigms & Research Updates. Psychiatry Grand Rounds, Thomas
Jefferson University, 2021.

Turban JL. Supporting Gender Diverse Youth Throughout Development. Child Psychiatry Grand Rounds, Georgetown,
2021.

Turban JL. Understanding Pediatric Gender Identity through Childhood and Adolescence. Grand Rounds, Institute of
Living, 2021.

Turban JL. Evolving treatment paradigms for transgender youth. Pediatric Grand Rounds, Albany Medical Center, 2021.
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Turban JL. Evolving Treatment Paradigms for Transgender Youth. Psychiatry Grand Rounds, McLean Hospital
(Harvard Medical School), 2021.

Turban JL. Einstein Psychiatry Grand Rounds: Evolving Treatment Paradigms for Transgender Youth. Psychiatry Grand
Rounds, Einstein Medical Center, 2021.

Turban JL. COVID19 and Pediatric Mental Health. Pediatrics Grand Rounds, Stanford University School of Medicine,
2021.

Turban JL. Evolving Treatment Paradigms for Transgender Youth. Psychiatry Grand Rounds, Beth Israel Deaconess
Medical Center (Harvard Medical School), 2020.

ADDITIONAL INVITED PRESENTATIONS
Turban JL. The Research on Gender-affirming Care for Transgender Youth. AusPATH Research Seminar. Sydney, 2023.

Turban JL. Building a Career in Sexual & Gender Minority Health Research. National Institutes of Health, Bethesda,
2022.

Turban JL. Research Updates: Gender-affirming Care for Transgender Youth. MUSC LGBTQ+ Health Equity Summit,
Medical University of South Carolina, 2022.

Turban JL. Keynote: Supporting The Mental Health of Transgender & Gender Diverse Youth. Edythe Kurz Educational
Institute Conference, Westchester, 2022.

Turban JL, Peters B, Olson-Kennedy J. Gender-Affirming Care: Through a Medical, Surgical, and Mental Health Lens.
Critical Issues in Child & Adolescent Mental Health Conference, San Diego, 2022.

Turban JL. Improving Mental Health Outcomes for Transgender and Gender Diverse (TGD) Youth Through Gender-
affirming Care. National LGBTQIA+ Health Education Center, The Fenway Institute, 2022.

Turban JL. Combatting anti-trans legislation through science, data, and writing. State of Queer Mental Health
Conference by The Mental Health Association of San Francisco, Online, 2021.

Turban JL. Updates on LGBTQ Mental Health. Annual Psychiatric Times World CME Conference, Online, 2021.

Turban JL. Imbasciani LGBTQ Health Equity Lecture: Evolving Treatment Paradigms for Transgender and Gender
Diverse Youth. University of Vermont Larner College of Medicine, Burlington, 2021.

Turban JL. The Emergence of Gender-affirming Care for Transgender & Gender Diverse Youth, United Nations NGO
Committee on Mental Health, Oral Presentation, Online, 2021.

Turban JL. Keynote – Transgender & Gender Diverse Youth: Research Updates. Stony Brook Transgender Health
Conference, Online, 2021.

Turban JL. Opinion Writing on Sensitive Topics. Harvard Media & Medicine Course, Live Lecture, Online, 2021.

Turban JL. Gender affirming care for transgender and gender diverse youth: what we know and what we don’t.
University of Texas Pride Health Institute, Oral Presentation, Online, 2020.

Turban JL. Q&A on Transgender Youth Mental Health. PEOPLE in Healthcare at University of Toledo, Oral
Presentation, Online, 2020.
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                                        Jack Lewis Turban III MD MHS
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Turban JL, Pagato S, Gold J, Broglie J, Naidoo U, Alvarado A. Innovation of Student Mental Health during COVID19.
Panel to the People, Oral Presentation, Online, 2020.

Turban JL, Belkin B, Vito J, Campos K, Scasta D, Ahuja A, Harris S. Discussion on Abomination: Homosexuality and
the Ex-Gay Movement. Panelist, The Association of LGBTQ+ Psychiatrists Virtual Session, Oral Presentation, Online,
2020.

Turban JL. Is Grindr affecting gay men’s mental health? Oral Presentation, UCLA & AETC Coping with Hope, Online,
Oral Presentation, 2020.

Turban JL, Hall TM, Goldenberg D, Hellman R. Gay Sexuality and Dating. Moderator, The Association of LGBTQ+
Psychiatrists Virtual Session, Oral Presentation, Online, 2020.


CONFERENCE PRESENTATIONS & ABSTRACTS
Turban JL. A Systematic Approach for Understanding Gender Identity Evolution. Annual Meeting of The American
Academy of Child & Adolesent Psychiatry, Oral Presentation, Toronto, 2022.

Turban JL. Transgender Youth: Evolving Gender Identities and “Detransition.” Annual Meeting of The American
Academy of Child & Adolesent Psychiatry, Session Chair of Oral Symposium, Toronto, 2022.

Turban JL. From The New York Times to Hollywood: Communicating With the Public Through Opinion Writing,
Publishing, Social Media, and Consulting for Film and TV, Annual Meeting of The American Academy of Child &
Adolesent Psychiatry, Session Chair of Oral Symposium, Toronto, 2022.

Turban JL. Writing for the Lay Press to Combat Misinformation Regarding Pediatric Mental Health, Annual Meeting of
The American Academy of Child & Adolesent Psychiatry, Oral Presentation, Toronto, 2022.

Turban JL. COVID-19 and Psychosexual Dynamics, Annual Meeting of the American Academy of Child & Adolescent
Psychiatry, Oral Presentation, Toronto, 2022.

Dolotina B, Turban JL, King D, Keuroghlian AS. Age of Realization of Gender Identity and Mental Health Outcomes
among Transgender Adults: Evaluating the “Rapid Onset Gender Dysphoria” Hypothesis, Annual Meeting of The
American Academy of Child & Adolescent Psychiatry, Poster, Toronto, 2022.

Turban JL. Sex ratio among transgender adolescents in the United States. World Professional Association for
Transgender Health Scientific Symposium, Oral Presentation, Montreal, 2022.

Turban JL. Access To Gender-Affirming Hormones During Adolescence And Mental Health Outcomes Among
Transgender Adults. World Professional Association for Transgender Health Scientific Symposium, Oral Presentation,
Montreal, 2022.

Turban JL, Gold J, Hartselle S, Yen J. From The New York Times to the Big Screen: Communicating With the Public
Through Opinion Writing, Publishing, Social Media, and Consulting for Film and TV. Annual Meeting of The American
Academy of Child & Adolesent Psychiatry, Session Chair of Oral Symposium, Online, 2021.

Turban JL. Creating Change through Opinion Writing in Child & Adolescent Psychiatry. Annual Meeting of The
American Academy of Child & Adolesent Psychiatry, Oral Presentation, Online, 2021.

Turban JL, Giedinghagen A, Janssen A, Myint M, Daniolos P. Transgender Youth: Understanding “De-transition,” Non-
linear Gender Trajectories, and Dynamic Gender Identities. Annual Meeting of The American Academy of Child &
Adolesent Psychiatry, Session Chair of Oral Symposium, Online, 2021.
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                                          Jack Lewis Turban III MD MHS
                                               401 Parnassus Ave
                                            San Francisco, CA 94143
Turban JL. A framework for understanding dynamic gender identities through internal and external factors. Annual
Meeting of The American Academy of Child & Adolescent Psychiatry, Oral Presentation, Online, 2021.

Turban JL, Geosocial networking application use among birth-assigned male adolescents. Annual Meeting of The
American Academy of Child & Adolescent Psychiatry, Oral Presentation, Online, 2021.

Turban JL. LGBTQ Families and the US Supreme Court. Annual Meeting of The American Academy of Child &
Adolescent Psychiatry, Oral Presentations, Online, 2021.

Turban JL, King D, Kobe J, Reisner SL, Keuroghlian AS. Access to Gender-affirming Hormones during Adolescence
and Mental Health Outcomes among Transgender Adults. Annual Meeting of The American Academy of Child &
Adolescent Psychiatry, Poster, Online, 2021.

Turban JL. Gender Identity Conversion Efforts: Quantitative Perspectives. Annual Meeting of The American Psychiatric
Association, Oral Presentation, Online, 2021.

Turban JL. For Worse: Negative Aspects of Social Media for LGBT Youth. Oral Presentation, Annual Meeting of The
American Academy of Child & Adolescent Psychiatry, Oral Presentation, Online, 2020.

Turban JL. Hookup App Use among Gay and Bisexual Males: Sexual Risk and Associated Psychopathology. Oral
Presentation, Annual Meeting of The American Academy of Child & Adolescent Psychiatry, Online, 2020.

Turban JL. Communicating with the Public: From The New York Times to The Big Screen. Oral Presentation, Annual
Meeting of The American Academy of Child & Adolescent Psychiatry, Online, 2020.

Turban JL, McFarland C, Walters O, Rosenblatt S. An Overview of Best Outpatient Practice in the Care of Transgender
Individual. Oral Presentation, Annual Meeting of the American Psychiatric Association, Philadelphia, 2020. [Accepted,
but cancelled due to COVID19]

Turban JL, Lakshmin P, Gold J, Khandai C. #PsychiatryMatters: Combating Mental Health Misinformation Through
Social Media and Popular Press. Oral Presentation, Annual Meeting of the American Psychiatric Association,
Philadelphia, 2020. [Accepted, but cancelled due to COVID19]

Turban JL. The Pen and the Psychiatrist: Outreach and Education Through the Written Word. Oral Presentation, Annual
Meeting of the American Academy of Child & Adolescent Psychiatry, Chicago, 2019.

Turban JL. For Better and For Worse: Gender and Sexuality Online, Oral Presentation, Annual Meeting of the American
Academy of Child & Adolescent Psychiatry, Chicago, 2019.

Turban JL. Gender Diverse Young Adults: Narratives and Clinical Considerations, Oral Presentation, Annual Meeting of
the American Academy of Child & Adolescent Psychiatry, Chicago, 2019.

Turban JL. Transgender Youth: Controversies and Research Updates, Oral Presentation, Annual Meeting of the
American Psychiatric Association, San Francisco, 2019.

Turban JL, Beckwith N, Reisner S, Keuroghlian A. Exposure to Conversion Therapy for Gender Identity Is Associated
with Poor Adult Mental Health Outcomes among Transgender People in the U.S. Poster Presentation, Annual Meeting of
the American Academy of Child & Adolescent Psychiatry, Seattle, 2018.

Shirk SD, Turban JL, Potenza M, Hoff R, Kraus S. Sexting among military veterans: Prevalence and correlates with
psychopathology, suicidal ideation, impulsivity, hypersexuality, and sexually transmitted infections. Oral Presentation,
International Conference on Behavioral Addictions, Cologne, Germany, 2018.
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                                         Jack Lewis Turban III MD MHS
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Turban JL. Gender Identity and Autism Spectrum Disorder. Oral Presentation, Annual Meeting of the American
Academy of Child & Adolescent Psychiatry, Washington D.C., 2017.

Turban JL. Tackling Gender Dysphoria in Youth with Autism Spectrum Disorder from the Bible Belt to New York City.
Oral Presentation, Annual Meeting of the American Academy of Child & Adolescent psychiatry, Washington D.C., 2017.

Turban JL. Affirmative Protocols for Transgender Youth. Oral Presentation, Annual Meeting of the American Academy
of Child & Adolescent Psychiatry, Washington D.C., 2017.

Turban, JL. Evolving Management of Transgender Youth. Oral Presentation, Klingenstein Third Generation Foundation
Conference, St Louis, 2017.

Turban, JL, Potenza M, Hoff R, Martino S, Kraus S. Clinical characteristics associated with digital hookups,
psychopathology, and clinical hypersexuality among US military veterans. Oral Presentation, International Conference on
Behavioral Addictions, Haifa, Israel, 2017.

Lewis J, Monaco P, Turban JL, Girardi M. UV-induced mutant p53 ketatinocyte clonal expansion dependence on IL-22
and RORγT. Poster, Society of Investigative Dermatology, Portland, 2017.

Turban JL, Winer J, Encandela J, Boulware S, VanDeusen T. Medical Student Knowledge of and Attitudes toward
Transgender Pediatric Patient Care. Abstract, Gay & Lesbian Medical Association, St Louis, 2016.

Turban JL, Lu A, Damisah E, Eid T, Chiang V. Metabolomics to Differentiate Radiation Necrosis from Recurrent
Tumor following Gamma Knife Stereotactic Radiosurgery for Brain Metastases. Oral Presentation, 14th Annual Leksell
Gamma Knife Conference, New York City, 2014

Turban JL, Lewis J, Girardi M. UVB-induced HMGB1 and extracellular ATP increase Langerhans cell production of IL-
23 implicated in ILC3 activation. Poster, Society of Investigative Dermatology, Scottsdale, 2016

Turban JL, Lewis J, Girardi M. Characterization of cytokine pathways associated with Langerhans cell facilitation of
UVB-induced epidermal carcinogenesis. Poster, American Society of Clinical Investigation, Chicago, 2016.

Lewis J, Turban JL, Girardi M, Michael Girardi. Langerhans cells and UV-radiation drive local IL22+ ILC3 in
association with enhanced cutaneous carcinogenesis. Poster, Society of Investigative Dermatology, Scottsdale, 2016.

Sewanan L, Zheng D, Wang P, Guo X, Di Bartolo I, Marukian N, Turban JL, Rojas-Velazques D, Reisman A.
Reflective Writing Workshops Led By Near Peers During Third-Year Clerkships: A Safe Space for Solidarity,
Conversation, and Finding Meaning in Medicine. Poster & Workshop, Society of General Internal Medicine, New Haven
and Hollywood, 2016.

AWARDS & HONORS
Top Peer Review Service, Annals of Internal Medicine (2022)
Stanford Child & Adolescent Psychiatry Chief Fellow (2021-2022)
Top Manuscript of The Year - Pediatrics (2020)
American Psychiatric Association Child & Adolescent Psychiatry Fellowship (2019-2021)
Ted Stern Scholarship and Travel Award (2019)
Editor’s Pick for Best Clinical Perspectives Manuscript – Journal of The American Academy of Child & Adolescent
Psychatry (2018)
Ted Stern Scholarship and Travel Award (2018)
Medaris Grant (2018)
Editor’s Pick for Best Clinical Perspectives Manuscript – Journal of The American Academy of Child & Adolescent
Psychatry (2017)
United States Preventative Health Services Award for Excellence in Public Health (2017)
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NBC Pride 30 Innovator (2017)
Ferris Thesis Prize, Yale School of Medicine (2017)
Parker Prize, Yale School of Medicine (2017)
Howard Hughes Medical Institute Medical Research Fellowship (2015-2016)
American Academy of Child and Adolescent Psychiatry Life Members Mentorship Grant (2016)
Student Scholarship, Gender Conference East (2016)
Farr Award for Excellence in Research (2016)
Yale Office of International Medical Education Grant, Buenos Aires, Argentina (2016)
Yale Office of International Medical Education Grant, VU Medical Center, The Netherlands (2016)
Yale Summer Research Grant (2012)
AIG International Scholar, Harvard College (2007-2011)
Harvard International Study Grant, Alicante, Spain (2008)
David Rockefeller International Study Grant, Shanghai, China (2009)

PROFESSIONAL MEMBERSHIPS & COMMITTEES
American Medical Association, Member
American Psychiatric Association, Member
American Academy of Child & Adolescent Psychiatry, Member
American Psychiatry Association, Council on Communications
American Academy of Child & Adolescent Psychiatry, Media Committee
American Academy of Child & Adolescent Psychiatry, Chair of Subcomittee on Interfacing with the Media
World Professional Association for Transgrender Health, Member
US Professional Association for Transgender Health, Member
US Professional Association for Transgender Health, Research Committee
Psychiatric Times, Editorial Board
Alpha Omega Alpha (AOA) Honor Medical Society, Member

ACADEMIC JOURNAL SERVICE & AD HOC PEER REVIEW
PLoS One, Academic Editor
JAMA, Peer Reviewer
JAMA Pediatrics, Peer Reviewer
JAMA Psychiatry, Peer Reviewer
JAMA Network Open, Peer Reviewer
Annals of Internal Medicine, Peer Reviewer
Pediatrics, Peer Reviewer
Journal of the American Academy of Child & Adolescent Psychiatry, Peer Reviewer
Journal of Child Psychology and Psychiatry, Peer Reviewer
Journal of Adolescent Health, Peer Reviewer
Academic Psychiatry, Peer Reviewer
Journal of Autism and Developmental Disorders, Peer Reviewer
American Journal of Public Health, Peer Reviewer
Perspectives on Psychological Science, Peer Reviewer
Transgender Health, Peer Reviewer
Journal of Clinical Medicine, Peer Reviewer
Brain Sciences, Peer Reviewer
Social Science & Medicine, Peer Reviewer
Sexual Health, Peer Reviewer
Women, Peer Reviewer
